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                    IN THE UNITED STATES DISTRICT COURT
                        FOR THE DISTRICT OF NEBRASKA

UNITED STATES OF AMERICA,                  )          4:03CR3014-5
                                           )
                    Plaintiff,             )
                                           )
      vs.                                  )
                                           )          ORDER
CHRISTOPHER A. GANT,                       )
                                           )
                    Defendant.             )

       IT IS ORDERED that the defendant’s motion to modify conditions of release (filing
489) is denied.

      Dated January 9, 2014.

                                        BY THE COURT:

                                        Richard G. Kopf
                                        Senior United States District Judge
